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                         UNITED STATES DISTRICT COURT

                                DISTRICT OF OREGON




  JOHN P. STIRLING,                             Case No.: 3:20-cv-00712-SB

                        Petitioner,             RESPONDENT’S NOTICE OF
  v.                                            APPEARANCE OF COUNSEL
  DEWAYNE HENDRIX, Warden,

                        Respondent.


         Respondent, by and through the undersigned counsel, hereby enters appearance of

Assistant United States Attorney Amy Potter as counsel in this matter.

         DATED this 15th day of September 2021.


                                                  SCOTT ERIK ASPHAUG
                                                  Acting United States Attorney
                                                  District of Oregon

                                                  s/ Amy E. Potter
                                                  AMY E. POTTER
                                                  Assistant United States Attorney

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